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                                                                             APPEAL,TERMED
                  U.S. District Court − District of Colorado
                        District of Colorado (Denver)
      CRIMINAL DOCKET FOR CASE #: 1:15−cr−00395−REB All Defendants

    Case title: USA v. Williams                        Date Filed: 10/07/2015
                                                       Date Terminated: 06/21/2019

    Assigned to: Judge Robert E.
    Blackburn
    Appeals court case number:
    19−1229 USCA

    Defendant (1)
    Alan Alonzo Williams           represented by Alan Alonzo Williams
    TERMINATED: 06/21/2019                        #43473−013
                                                  ENGLEWOOD
                                                  FEDERAL CORRECTIONAL INSTITUTION
                                                  Inmate Mail/Parcels
                                                  9595 WEST QUINCY AVENUE
                                                  LITTLETON, CO 80123
                                                  PRO SE

                                              Keith Bradley
                                              Squire Patton Boggs (US) LLP−Denver
                                              1801 California Street
                                              Suite 4900
                                              Denver, CO 80202
                                              303−894−6156
                                              Fax: 303−894−9239
                                              Email: keith.bradley@squirepb.com
                                              ATTORNEY TO BE NOTICED
                                              Designation: 10th Circuit Special Designation

                                              Matthew C. Golla
                                              Office of the Federal Public Defender−Denver
                                              633 Seventeenth Street
                                              Suite 1000
                                              Denver, CO 80202
                                              303−294−7002
                                              Fax: 303−294−1192
                                              Email: Matt_Golla@fd.org
                                              TERMINATED: 07/19/2016
                                              Designation: Public Defender or Community
                                              Defender Appointment

                                              Michael John Gallagher
                                              Davis Graham & Stubbs, LLP−Denver

                                                                                              1
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                                             1550 17th Street
                                             Suite 500
                                             Denver, CO 80202
                                             303−892−9400
                                             Fax: 303−893−1379
                                             Email: mike.gallagher@dgslaw.com
                                             TERMINATED: 11/15/2017
                                             Designation: CJA Appointment

                                             Steven K. Jacobson
                                             Collins & Rafik
                                             1881 9th Street
                                             #315
                                             Boulder, CO 80302
                                             303−444−9292
                                             Fax: 303−447−0200
                                             Email: steve@rafiklaw.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: CJA Appointment

    Pending Counts                           Disposition
    BANK FRAUD                               84 months imprisonment. 5 years supervised release.
    (1)                                      $100 special assessment. $1,146,828.28 restitution.

    Highest Offense Level
    (Opening)
    Felony

    Terminated Counts                        Disposition
    BANK FRAUD
                                             Dismissed.
    (2−4)

    Highest Offense Level
    (Terminated)
    Felony

    Complaints                               Disposition
    None



    Plaintiff
    USA                                 represented by Linda S. Kaufman
                                                       U.S. Attorney's Office−Denver
                                                       1801 California Street
                                                       Suite 1600
                                                       Denver, CO 80202

                                                                                                   2
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                                                                 303−454−0100
                                                                 Fax: 454−0402
                                                                 Email: Linda.Kaufman@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

                                                                 Julia K. Martinez
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0100
                                                                 Email: julia.martinez@usdoj.gov
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

                                                                 Rebecca Susan Weber
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0332
                                                                 Email: Rebecca.Weber@usdoj.gov
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

     Date Filed   #    Page Docket Text
     11/15/2017   71      6 COURTROOM MINUTES for Sentencing Hearing as to Alan Alonzo
                            Williams held before Judge Robert E. Blackburn on 11/15/2017. Granting 70
                            Mr. Gallagher's Motion to Withdraw. Mr. Gallagher is relieved of further duty
                            or responsibility to represent Mr. Williams in these criminal proceedings.
                            Within 60 days, Mr. Williams shall file his written position to request
                            appointment of conflict−free counsel from the court's CJA panel or the
                            retention of private counsel. Status Conference set for 1/17/2018 09:00 AM in
                            Courtroom A1001 before Judge Robert E. Blackburn. Defendant remanded.
                            Court Reporter: Tracy Weir. (ebuch) (Entered: 11/15/2017)
     01/12/2018   73      8 Unopposed MOTION to Vacate Status Conference and Continue by Alan
                            Alonzo Williams. (Attachments: # 1 Envelope) (athom, ) (Entered:
                            01/12/2018)
     01/12/2018   74    12 NOTICE of Government's Position re 73 MOTION to Continue by USA as to
                           Alan Alonzo Williams (Weber, Rebecca) (Entered: 01/12/2018)
     01/17/2018   75    14 COURTROOM MINUTES for Status Conference as to Alan Alonzo Williams
                           held before Judge Robert E. Blackburn on 1/17/2018. ORDERED: 73
                           Defendant's Motion to Continue GRANTED. Continued Status Conference set
                           for 3/22/2018 at 10:00 AM in Courtroom A1001 before Senior Judge Robert E.
                           Blackburn, at which hearing the defendant shall appear without further notice
                           or order from the Court. Defendant remanded. Court Reporter: Tracy Weir.
                           (lrobe) (Entered: 01/17/2018)

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     03/16/2018    76    16 MOTION to Appoint Counsel and Vacate Status Hearing by Alan Alonzo
                            Williams. (Attachments: # 1 Envelope) (athom, ) (Entered: 03/16/2018)
     03/21/2018    79    21 NOTICE OF ATTORNEY APPEARANCE: Steven K. Jacobson appearing for
                            Alan Alonzo Williams Attorney Steven K. Jacobson added to party Alan
                            Alonzo Williams (pty:dft) (Jacobson, Steven) (Entered: 03/21/2018)
     03/29/2018    81    22 Unopposed MOTION to Excuse Appearance by Alan Alonzo Williams.
                            (Jacobson, Steven) (Entered: 03/29/2018)
     04/05/2018    83    24 COURTROOM MINUTES for Status Conference as to Alan Alonzo Williams
                            held before Senior Judge Robert E. Blackburn on 4/5/2018. Any motion for
                            subpoenas or subpoenas duces tecum due 4/13/2018. Motion to withdraw plea
                            of guilty due by 4/20/2018. Defendant may file additional objections to the
                            presentence investigation report and/or revise or amend his existing motions by
                            June 15, 2018. Any response by the government or probation department due
                            June 25, 2018. Matter set for further proceedings on June 27, 2018, at 2:00
                            p.m., reserving the balance of the afternoon if necessary. Defendant remanded.
                            Court Reporter: Tracy Weir. (lrobe) (Entered: 04/05/2018)
     06/11/2018   100    26 Unopposed MOTION to Continue Sentencing and Due Date for Supplemental
                            Sentencing Argument by Alan Alonzo Williams. (Attachments: # 1 Exhibit
                            Surgery, # 2 Exhibit Knee)(Jacobson, Steven) (Entered: 06/11/2018)
     09/07/2018   110    40 SENTENCING STATEMENT Second Supplemental by Alan Alonzo Williams
                            (Attachments: # 1 Exhibit Loan, # 2 Exhibit Loan, # 3 Exhibit Wells Fargo
                            documents, # 4 Exhibit Wells Fargo documents, # 5 Exhibit Wells Fargo
                            documents, # 6 Exhibit Sam Club Records, # 7 Exhibit Certificate, # 8 Exhibit
                            Orthopedic Letter)(Jacobson, Steven) (Entered: 09/07/2018)
     09/07/2018   111   136 Unopposed MOTION to Continue Defendants Fourth by Alan Alonzo
                            Williams. (Jacobson, Steven) (Entered: 09/07/2018)
     10/29/2018   114   139 MOTION for Order for Medical Evaluation by Alan Alonzo Williams.
                            (Jacobson, Steven) (Entered: 10/29/2018)
     11/28/2018   115   143 Fifth MOTION to Continue Sentencing and Renewed Request for an Order
                            Directing Facility to Provide a Medical Evaluation by Alan Alonzo Williams.
                            (Jacobson, Steven) (Entered: 11/28/2018)
     12/04/2018   116   146 Additional Information Relating to 115 Fifth MOTION to Continue Sentencing
                            and Renewed Request for an Order Directing Facility to Provide a Medical
                            Evaluation by Alan Alonzo Williams. (Jacobson, Steven) Modified on
                            12/5/2018 to correct event text and create linkage (athom, ). (Entered:
                            12/04/2018)
     12/13/2018   119   148 Additional Grounds in Support of Pending 115 Fifth MOTION to Continue
                            Sentencing and Renewed Request for an Order Directing Facility to Provide a
                            Medical Evaluation by Alan Alonzo Williams. (Jacobson, Steven) Modified on
                            12/13/2018 to correct event text and create linkage (athom, ). (Entered:
                            12/13/2018)
     12/17/2018   124   159 WITHDRAWN Letter requesting that counsel be withdrawn by Alan Alonzo
                            Williams. (Attachments: # 1 Envelope) (athom, ) Modified on 1/3/2019 to
                            withdraw pursuant to 129 Minute Order (agarc, ). (Entered: 12/19/2018)

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     12/18/2018   121   151 COURTROOM MINUTES for Motion Hearing as to Alan Alonzo Williams
                            held before Judge Robert E. Blackburn on 12/18/2018. ORDERED: 115
                            Defendant's Fifth Motion to Continue is granted. Sentencing reset for
                            3/27/2019 at 1:30 PM in Courtroom A1001 before Judge Robert E. Blackburn.
                            Court Reporter: Tracy Weir. (lrobe) (Entered: 12/18/2018)
     12/18/2018   122   153 ORDER Granting 115 Motion to Continue as to Alan Alonzo Williams re 121
                            Courtroom Minutes. By 1/3/2019, the warden of FCI Englewood (9595 West
                            Quincy Avenue, Littleton, Colorado 80123) shall advise the court in writing
                            about when the defendant shall receive the medical treatment, including any
                            surgery, reasonably necessary to address the medical condition and needs of
                            the defendant. By Judge Robert E. Blackburn on 12/18/2018. (athom, )
                            (Entered: 12/19/2018)
     12/19/2018   123   155 Certificate of Service by Certified Mail by Clerk of Court re 122 Order as to
                            Alan Alonzo Williams. Copy of 122 Order mailed to FCI Englewood, ATTN:
                            Warden, 9595 West Quincy Avenue, Littleton, CO 80123. (athom, ) (Entered:
                            12/19/2018)
     12/20/2018   126   164 MOTION to Excuse Appearance and Allow Appearance by Phone by Alan
                            Alonzo Williams. (Jacobson, Steven) (Entered: 12/20/2018)
     12/28/2018   128   166 Letter requesting to withdraw 124 Motion and to vacate hearing by Alan
                            Alonzo Williams. (Attachments: # 1 Envelope) (athom, ) (Entered:
                            12/28/2018)
     01/02/2019   129   168 MINUTE ORDER That the plaintiff's request to withdraw his request that
                            counsel be withdrawn, as set forth in his Letter 128 , filed December 28, 2018,
                            is granted; That the relief requested in plaintiff's previous Letter 124 , filed
                            December 17, 2018, is denied as moot; and That the hearing scheduled for
                            Thursday, January 3, 2019, at 11:00 a.m., in this matter is vacated, by Judge
                            Robert E. Blackburn on 1/2/2019. (evana, ) (Entered: 01/02/2019)
     01/07/2019   130   169 Certified Mail Receipt re 123 Certificate of Service as to Alan Alonzo
                            Williams. (athom, ) (Entered: 01/10/2019)
     02/08/2019   131   171 ORDER TO SHOW CAUSE as to Alan Alonzo Williams. On or before
                            2/20/2019, Richard Hudgins, Warden of FCI Englewood, shall show cause in
                            writing why he should not be held in contempt of court for his failure to
                            comply fully with the Order Granting Motion To Continue [# 122 ] issued by
                            this court. If the Warden seeks to establish facts demonstrating the reasons for
                            his noncompliance with the Order Granting Motion To Continue [# 122 ], he
                            shall file a sworn affidavit averring the facts on which he relies. After review
                            of the response by the Warden to this Order To Show Cause, the court will
                            determine if a contempt hearing is necessary. By Judge Robert E. Blackburn on
                            02/08/2019. (athom, ) (Entered: 02/08/2019)
     02/08/2019   132   173 Certificate of Service by Certified Mail by Clerk of Court re 131 Order to
                            Show Cause, 122 Order as Alan Alonzo Williams. Copy of 131 Order to Show
                            Cause and 122 Order mailed to FCI Englewood, ATTN: Richard Hudgins,
                            Warden, 9595 West Quincy Avenue, Littleton, CO 80123. (athom, ) (Entered:
                            02/08/2019)
     02/28/2019   133   177 Unopposed MOTION to Continue by Alan Alonzo Williams. (Jacobson,
                            Steven) (Entered: 02/28/2019)

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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 Judge Robert E. Blackburn

   Date:                 November 15, 2017

   Deputy Clerk:         Emily Buchanan
   Court Reporter:       Tracy Weir
   Probation Officer:    Kyla Hamilton


   Criminal Action No. 15-cr-00395-REB

   Parties:                                         Counsel:

   UNITED STATES OF AMERICA,                        Rebecca Weber

           Plaintiff,
   v.

   1. ALAN ALONZO WILLIAMS,                         Michael Gallagher

           Defendant.


                                    COURTROOM MINUTES


   SENTENCING HEARING

   11:07 a.m.      Court in session.

   Appearances of counsel.

   Defendant is present in custody.

   Before the Court is Mr. Gallagher’s Motion to Withdraw [ECF 70], filed November 14,
   2017. Mr. Gallagher requests to be heard in an ex parte setting.

   11:10 a.m.      Ms. Weber, Ms. Hamilton, and the individuals seated in the gallery are
                   asked to exit the courtroom.

   Statement by Mr. Gallagher.

   Statement by Mr. Williams.




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   Response by Mr. Gallagher.

   Statement by the Court.

   11:44 a.m.    Ms. Weber, Ms. Hamilton, and the individuals seated in the gallery return
                 to the courtroom.

   ORDERED: Mr. Gallagher’s Motion to Withdraw [ECF 70], filed November 14, 2017 is
            GRANTED. Mr. Gallagher is relieved of further duty or responsibility to
            represent Mr. Williams in these criminal proceedings.

   ORDERED: Within 60 days, Mr. Williams shall file his written position to request
            appointment of conflict-free counsel from the court’s CJA panel or the
            retention of private counsel.

   ORDERED: A Status Conference is set for Wednesday, January 17, 2018 at 9:00
            a.m. in Courtroom A-1001. Ms. Hamilton may attend the conference, but
            her presence is not required by the Court.

   ORDERED: The defendant is remanded to the custody of the United States Marshal.

   11:49 a.m.    Court in recess.

   Total time in court: 00:42

   Hearing concluded.




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. ALAN ALONZO WILLIAMS

        Defendant.


       NOTICE OF GOVERNMENT’S POSITION ON DEFENDANT’S MOTION TO
                            CONTINUE (#73)



        The government has received the “Defendant’s Unopposed Motion to Vacate

 Status Conference and Continue” (ECF No. 73). In fact, the government has had no

 contact with the defendant regarding the government’s position on this motion. The

 government does not necessarily oppose a further continuance in this matter, but would

 prefer that the Court maintain the status conference as set in order to discuss these

 issues.

        Respectfully submitted this 12th day of January, 2018.

                                          ROBERT C. TROYER
                                          United States Attorney

                                          s/ Rebecca S. Weber
                                          REBECCA S. WEBER
                                          Assistant U.S. Attorney
                                          1801 California Street, Suite 1600
                                          Denver, CO 80202
                                          Telephone 303-454-0100
                                          Facsimile 303-454-0402
                                          Email: rebecca.weber@usdoj.gov
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                               CERTIFICATE OF SERVICE


        I hereby certify that on this 12th day of January, 2018, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system. I further certify that I have
 sent the foregoing to the following address via mail:

 Alan Alonzo Williams
 #43473-013
 ENGLEWOOD FEDERAL CORRECTIONAL INSTITUTION
 Inmate Mail/Parcels
 9595 WEST QUINCY AVENUE
 LITTLETON, CO 80123




                                           s/ Rebecca S. Weber
                                           REBECCA S. WEBER
                                           Assistant U.S. Attorney
                                           1801 California Street, Suite 1600
                                           Denver, CO 80202
                                           Telephone 303-454-0100
                                           Facsimile 303-454-0402
                                           Email: rebecca.weber@usdoj.gov




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               Judge Robert E. Blackburn

 Date:                 January 17, 2018

 Deputy Clerk:         Leigh Roberson
 Court Reporter:       Tracy Weir
 Probation Officer:    Kyla Hamilton


 Criminal Action No. 15-cr-00395-REB

 Parties:                                         Counsel:

 UNITED STATES OF AMERICA,                        Rebecca Weber

         Plaintiff,
 v.

 1. ALAN ALONZO WILLIAMS,                         Pro Se

         Defendant.


                                  COURTROOM MINUTES


 Status Conference

 9:20 a.m.       Court in session.

 Appearances of counsel. Defendant is present in custody.

 Opening statements by the Court.

 Discussion regarding Defendant’s Motion to Continue [ECF 73], filed January 12, 2018.

 Court’s findings of fact, conclusions of law, and orders.

         IT IS ORDERED as follows:

         1.     That [ECF 73] is granted;




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        2.    That this matter is continued for Status Conference to March 22, 2018, at
              10:00 a.m., at which time the defendant shall appear without further notice
              or order from the Court;

        3.    That the United States Marshal for the District of Colorado shall assist the
              Court in securing the appearance of the defendant;

        4.    That Probation Officer Kyla Hamilton or her designee may appear in
              person or by telephone, or not, as Ms. Hamilton or her designee may
              determine; and

        5.    That pending further proceedings, the Defendant is remanded to the
              custody of the United States Marshal.


 9:28 a.m.     Court in recess.

 Total time in court: 0:08

 Hearing concluded. Defendant remanded.




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Criminal Action No. 1:15-cr-00395-REB

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  1.      ALAN ALONZO WILLIAMS,

         Defendant.


  ENTRY OF APPEARANCE OF COUNSEL FOR ALAN ALONZO WILLIAMS


       COMES NOW Steven K. Jacobson, a member of the bar of this Court, and

  hereby enters an appearance as counsel for the above-named Defendant.

       Dated: March 21, 2018

       Respectfully submitted,

                                     s/ Steven K. Jacobson
                                     Steven K. Jacobson
                                     Collins, Rafik and Jacobson LLC
                                     1881 9th St., Suite 315
                                     Boulder, Colorado 80302
                                     Telephone: 303-444-9292
                                     Fax: 303-447-0200
                                     e-mail: steve@collinsrafik.com


                        CERTIFICATE OF SERVICE (CM/ECF)

   I hereby certify that on March 21, 2018, I electronically filed the foregoing ENTRY
  OF APPEARANCE with the Clerk of the Court using the CM/ECF filing system
  which will send notification of such filing to all counsel of record in this case.

                                     s/ Steven K. Jacobson
                                     Steven K. Jacobson




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Criminal Action No. 1:15-cr-00395-REB

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  1.     ALAN ALONZO WILLIAMS,

         Defendant.


             MOTION TO BE EXCUSED FROM STATUS CONFERENCE


         Defendant, Alan Alonzo WIlliams, respectfully requests to be excused from

  the Status Conference set for April 5, 2018 and that an order issue directing that he

  not be transported to court. The parties have conferred and the government does

  not oppose this request. As grounds therefore, Mr. Williams states:

         1. Under Federal Rule of Criminal Procedure 43(b)(3), this Defendant’s

  presence can be waived for a status conference court appearance.

          2. Defendant is in custody. Mr. Williams recently had hernia repair surgery.

  The surgery resulted in complications for which he needs to obtain additional

  medical treatment. He believes the treatment will be provided at approximately the

  same time as the date set for the status conference. He does not want to miss the

  treatment because he was transported to or held for court.

         3. The matters to be discussed during the Status Conference do not

  necessitate the appearance of defendant and counsel will fully advise defendant of

  the matters discussed during the Status Conference.




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                                         179


             Dated: March 29, 2018


             Respectfully submitted,

                                         s/ Steven K. Jacobson
                                         Steven K. Jacobson
                                         Collins, Rafik and Jacobson LLC
                                         1881 9th St., Suite 315
                                         Boulder, Colorado 80302
                                         Telephone: 303-444-9292
                                         Fax: 303-447-0200
                                         e-mail: steve@collinsrafik.com


                            CERTIFICATE OF SERVICE (CM/ECF)

        I hereby certify that on March 29, 2018, I electronically filed the foregoing MOTION TO
BE EXCUSED FROM STATUS CONFERENCE with the Clerk of the Court using the CM/ECF
filing system which will send notification of such filing to all counsel of record in this case.

                                         s/ Steven K. Jacobson
                                         Steven K. Jacobson




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               Judge Robert E. Blackburn

 Date:                 April 5, 2018

 Deputy Clerk:         Leigh Roberson
 Court Reporter:       Tracy Weir
 Probation Officer:    Kyla Hamilton


 Criminal Action No. 15-cr-00395-REB

 Parties:                                          Counsel:

 UNITED STATES OF AMERICA,                         Rebecca Weber

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,                          Steven Jacobson

         Defendant.


                                  COURTROOM MINUTES


 Status Conference

 11:06 a.m.      Court in session.

 Appearances of counsel. Defendant is present in custody.

 Court’s opening remarks and inquiries.

 Statement by Mr. Jacobson for the defendant.

 Statement by Ms. Weber for the government.

 IT IS ORDERED as follows:

      1. That by April 13, 2018, the defendant shall file any motion or request for
         subpoenas or subpoenas duces tecum;




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    2. That by April 20, 2018, the defendant may file a motion to withdraw his plea of
       guilty entered on January 12, 2017, failing which, he shall waive the right and
       opportunity to file such motion;

    3. That the defendant may file additional objections to the presentence investigation
       report and may revise or amend his existing motions – sentencing statement,
       motion for departure, and motion for variance – by June 15, 2018;

    4. That any response by the government or the probation department to additional
       objections or revisions of the sentencing statement and motions shall be filed by
       June 25, 2018;

    5. That the Court shall convene this matter for further proceedings on June 27,
       2018, at 2:00 p.m. to conduct, in the alternative, a status conference, a
       sentencing hearing, or a hearing on any timely filed motion to withdraw the extant
       plea of guilty;

    6. That the Court reserves the balance of the afternoon, if necessary, for those
       proceedings, at which the defendant shall appear without further notice, order, or
       subpoena;

    7. That, to the extent necessary, the United States Marshal for the District of
       Colorado shall assist the Court in securing the appearance of the defendant;

    8. That the defendant is remanded to the custody of the United States Marshal.

 11:35 a.m.    Court in recess.

 Total time in court: 0:29

 Hearing concluded.




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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Criminal Action No. 1:15-cr-00395-REB

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.

   1.     ALAN ALONZO WILLIAMS,

         Defendant.


        UNOPPOSED MOTION TO CONTINUE SENTENCING AND DUE DATE FOR
                  SUPPLEMENTAL SENTENCING ARGUMENT


             Defendant, Alan Alonzo Williams, by and through counsel, requests that

   the sentencing in this matter, current scheduled for June 27, 2018 at 2:00 p.m., be

   continued until sometime in September 2018. .Counsel further requests that the

   court continue the date set by which he is required to file his supplemental

   sentencing argument (presently set for June 15, 2018) until a date two weeks after

   the return date on the re-issued subpoenas requested herein.           In support of this

   Motion to Continue Sentencing Hearing (“Motion”), Defendant states as follows:

            1.        On January 12, 2017, Williams pled guilty pursuant to a plea

   agreement with the United States. On that date, the Court set Defendant’s

   sentencing hearing for April 6, 2017 at 10:00 A.M.

   Medical Treatment Issues

            3.        Since the original setting, the sentencing hearing has been continued




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   several times to address the defendant’s health issues, most significantly a

   debilitating hernia condition.

          3.     Since Mr. Williams heath issue was first brought to the attention of

   the Court, he has repeatedly been scheduled for surgery and repeatedly the

   surgery did not occur. Surgery was first schedule for March 22, 2017, however, it

   did not occur. His condition was not addressed again until October 24, 2017 when

   surgery was ordered for a target date of November 28, 2017. However, surgery

   was not actually performed until January 24, 2018. See Exhibit 1. During this

   period he was in substantial pain and could not ambulate without crutches.

          4.     Soon after the surgery was performed it became clear to Mr. Williams

   that the surgery failed. He remained in pain and still could not ambulate without

   crutches.

          5.     Until only recently, Mr. Williams continued to raise this issue with the

   health services at FDC. He was told he would be taken back to be re-evaluated.

   This was repeated scheduled but never occurred until recently. He actual did not

   see the surgeon until June 1, 2018. On June 1, 2018, he received a cat scan

   which indicated that he again needed surgery to re-repair the hernia. He was told

   this would be scheduled.

          6.     Mr. Williams has met with the Warden of FDC. The Warden informed

   Mr. Williams that the facility had “dropped the ball” in getting him prompt treatment.

   The Warden told Mr. Williams that he had investigated the situation and believed

   that the corrective surgery could be arranged if his sentencing was continued until

   September. The Warden informed Mr. Williams he would do everything he could to

   “get it done” timely and wanted to assist Mr. Williams with getting the re-repair




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   done at FDC knowing the uncertainty of this happening if he were transferred to a

   new facility.

          7.       Were Mr. Williams to be sentenced prior to receiving surgery, he

   would end up at a new facility and in effect go to “the bottom of the list” with

   respect to receiving treatment. He would lose any chance for continuity of care

   with the chance to have the doctor most familiar with his condition, and who did the

   original surgery, re-repair the hernia.

          8.       Mr. Williams knows and accepts that he is facing a lengthy period of

   incarceration.    He simply wants the chance to serve his sentence with this

   significant health problem resolved. At the same time he has degenerative joint

   disease in his right knee. He will “ultimately” need a total knee replacement. See

   Exhibit 2. He is aware that it is unlikely that the Bureau of Prisons will be able to

   provide him a replacement. Thus, this is a condition for which he will have to

   compensate during his sentence. He is hoping that the hernia problem can be

   resolved before he is sentenced so that the knee is the only disability for which he

   has to compensate. Even so, it is clear that Mr. Williams will remain on crutches

   until he gets a knee replacement which is likely some years from now.

          9.       Mr. Williams is aware that the matter has been continued on several

   occasions, but begs the Court to give him a chance to resolve his hernia condition

   when it appears that it will be soon resolved.

   The Marshall’s Service Failure to Serve Subpoenas

          10.      One of Mr. Williams concerns which led to the appointment of new

   counsel related to Mr. Williams desire to obtain Wells Fargo bank records that

   would support arguments that would be made in an additional Supplemental

   Defendant’s Sentencing Memorandum counsel would file.


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         11.      Similar evidence has previously been subpoenaed. However, the

   materials he requested new counsel to obtain covered a broader period of time

   and included a request for certain materials not previously requested and/or not

   previously provided.

         12.         Counsel filed a request to issue subpoenas for these Wells Fargo

   records on April 12, 2018 (Doc. #86 Ex Parte). The subpoenas were thereafter

   issued and electronically forwarded to the Marshall’s service on April 13, 2018.

   (Doc. # 89).        For reasons unclear to counsel, the Marshall’s service never

   recognized that they have been sent the subpoenas for service. When counsel

   discovered this and notified the Marshall’s service, they proceed to serve the

   subpoenas, but service was obtained on May 2, 2018. This was a day after the

   return date specified in the subpoenas, May 1, 2018. Accordingly, Wells Fargo

   refused to provide the records because the return date had passed.

               13.      On May 7, 2018, counsel filed a renewed motion requesting the

   subpoenas to Wells Fargo be reissued with a return date of June 4, 2018. Counsel

   requested the Wells Fargo subpoenas be re-issued and a new subpoena be

   issued to Chase Bank for additional records. The Court granted this motion and

   issued the subpoenas on May 8, 2018. Counsel had told the Marshall’s service

   this would be happening. Counsel was then out of the country for some period of

   time. Upon returning to the country and checking with the court on June 4, 2018 to

   obtain the materials requested, counsel discovered that the Chase Bank subpoena

   had been served and Chase had filed a response. However, the Wells Fargo

   subpoenas had again not been served. Upon contacting the Marshall’s service to

   determine why the subpoenas had not been served, counsel was informed that

   there had been some confusion and it was not realized that there were two sets of


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   subpoenas.     Counsel has now been assured by the supervisor that if the

   subpoenas were re-issued he would personally serve them immediately.

          14.    Were this motion granted, counsel would immediately file a request

   that the subpoenas be issued a third time. There would need to be a return date in

   approximately thirty days to give Wells Fargo time to comply.

   Position of Government

          15.   On June 7, 2018, counsel for Mr. Williams conferred with AUSA

   Rebecca Weber about this request. The government does not oppose this request.

   Conclusion and Further Statement of Grounds

          Mr. Williams recognizes that he is again requesting a significant delay.

   However, this delay will not prejudice the government, and is necessary to ensure

   that his medical treatment will not be delayed by a sentencing date in the near term

   and to allow him to provide the Court documentary evidence in support of his

   sentencing arguments.

          Dated: June 11, 2018.

                Respectfully submitted,

                                             s/ Steven K. Jacobson
                                             Steven K. Jacobson
                                             Collins, Rafik and Jacobson LLC
                                             1881 9th St., Suite 315
                                             Boulder, Colorado 80302
                                             Telephone: 303-444-9292
                                             Fax: 303-447-0200
                                             e-mail: steve@collinsrafik.com


                         CERTIFICATE OF SERVICE (CM/ECF)

          I hereby certify that on JUNE 11, 2018, I electronically filed the foregoing
   UNOPPOSED MOTION TO CONTINUE SENTENCING AND DUE DATE FOR
   SUPPLEMENTAL SENTENCING ARGUMENT with the Clerk of the Court using
   the CM/ECF filing system which will send notification of such filing to all counsel of
   record in this case.


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                                        s/ Steven K. Jacobson
                                        Steven K. Jacobson




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                          IN THE UNITED STATES DISTRICT
                            COURT FOR THE DISTRICT OF
                                    COLORADO


   Criminal Action No. 1:15-cr-00395-REB


   UNITED STATES OF AMERICA,

           Plaintiff,

   v.

   1.      ALAN ALONZO WILLIAMS,

           Defendant.



   DEFENDANT'S S E C O N D SUPPLEMENTAL SENTENCING MEMORANDUM
             AND REQUEST FOR NON-GUIDELINE SENTENCE


         Mr. Williams submits this additional Supplemental Sentencing Memorandum

 in support of his previously filed Sentencing Memorandum and Motion for Downward

 Departure and Variance to address:

    a.   material f acts and arguments evid ent f rom discovery and other

         documents that were not presented to the Court b y prior counsel.

         These facts and arguments address the intended loss calculation

         as to wh ether it e xceeded $1,500,000;

    b. to provide the Court documentation relating to pro graming Mr.

         W illiams has completed while inca rcerated, and,

    c. to update the Court as to Mr. Williams medical condition.

                             a. Intended Loss Calculation
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         Prior counsel put substantial effort into obtaining information relating to how the

 funds from completed loans were used by Mr. Williams.                     This information is highly

 relevant to the Courts determination of the intended loss because of the weight the

 Court should give to an examination of the defendant’s mental state as to how he would

 have intended to use unreceived funds. See United States v Manatau, 647 F.3d 1048,

 1050 (10th Cir. 2011) (cited in the PSIR).

         In the Addendum to the Presentence report (Document 66), Probation argues Mr.

 William’s history of repayment on the completed loans somehow establishes an intent

 not to repay the denied loan. However, this claim ignores the provisions of the loans

 themselves and the economic realities of the time.

         The Loans

         The terms of the completed loans did not contemplate any short term repayment

 of principal. The major terms of first loan note with a principal amount of $800,000 (see

 Exhibit 1 – Loan - See page WB-00002449),1 provided for:

         a. a fluctuating interest rate that would change “every calendar quarter” and

             began at 9.75%,

         b. required payments were set at the amount of $8,770.50 per month beginning


         1
             Prior counsel’s and present counsel’s effort to reconstruct how funds were used has been
 frustrated by the age of the case. There is a limit on how long banking institution and the venders with
 which Mr. Williams did business kept records. More recent efforts to obtain such records by subpoena or
 release have met limited success. For example, Mr. Williams asserts that the cashier’s checks he received
 went to venders of equipment and products and that the back of the checks would show that they were
 deposited by such venders. However, only the fronts of the cashier’s check were originally obtained by the
 government and are in discovery. The backs of the checks are no longer available. Accordingly, as noted
 in prior filings, most documents cited in this Memorandum are found in the discovery provided by the
 government. Prior counsel noted that these documents are voluminous and “will not be provided to the
 Court prior to sentencing; paper copies, however, will be offered at sentencing” and that certain other
 materials would be attached.          Instead, present counsel is providing the relevant documents as
 attachments to this motion.

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           two months after the note was created, and,

        c. although pre-payment of the loan was permitted, the loan was not “due and

           payable (for) 14 years.”

 This means the agreement contemplated that the monthly payment due in 2008 would

 total $87,775 (10 x $8,770.50). The interest portion of those payments would have to

 cover the whole year’s interest which would be $78,000 (at 9.75%). This would have left

 only $9,775 going to principal in the first year by agreement of the parties.

         The major terms of second loan note (done by a modification of the first note

 (Exhibit 2 – Loan) had an eventual principal amount of $360,000 and provided for:

        d. a similar fluctuating interest rate,

        e. required payments were set at the amount of $4,344.46 per month beginning

           one month after the note was created, and,

        f. adopted the same provisions of the first loan that although pre-payment of the

           loan was permitted, the loan did not come due for 14 years.

 This means the agreement contemplated that the monthly payments due in 2008 would

 total $26,067.36 (6 x $4,344.46).      The interest portion of those payments would be

 $17,550(at 9.75%). This would have left only $8,517.36 going to principal in the first

 year by agreement of the parties.

        It appears the parties contemplated that very little principal would be paid on

 these $1,100,000 loans (approximately $18,000 per year) in the early years of the 14

 year loan period. The obvious expectation was that this was a long term loan that would

 go on for years. The loan was obviously granted for the purpose and with the hope that

 Mr. Williams could expand the company and grow its value over the years.            Thus,


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 Probation’s assertion that the small principal repayment would have to cause one to

 have to “imagine that the defendant had some intent to repay the loans at an extremely

 faster rate than he had previously done” is far from imagination.        It was the exact

 agreement and contemplation of the parties.

 The Economy

        Sadly, Mr. William’s decision to use fraudulent means to obtain loans based on

 his motivation to expand the family business occurred at a point in time when the

 country        was        entering        the        “Great        Recession.”        See

 https://en.wikipedia.org/wiki/Great_Recession_in_the_United_States. Mr. Williams was

 investing the loan proceeds in equipment and expanding operations that weren’t fully in

 place till the summer of 2008. Within months, September 2008, there was a stock

 market crash. The associated near economic shutdown could only have contributed to

 Mr. William’s business failure. Mr. William’s is not asserting this was the cause of the

 failure.   He acknowledges that his plan to expand the company was ill conceived.

 However, his substantial efforts almost immediately bumped up into this sinking

 economy which could not have but accelerated the failure.

        Mr. Williams’ Use of the Proceeds for Legitimate Business Purposes

        Given the limits of the records available, prior counsel offered a reconstruction of

 how the loan proceeds were used.         He was able to document that hundreds of

 thousands of the proceeds went to legitimate business purposes.                  He found

 documentation or interview references that established that at least $406,369.54 of the

 first loan, $177,806.57 of the second loan and all of the second draw on the second

 loan ($51,515.00) went to legitimate business purposes.          He correctly noted that


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 Probation does not dispute the showing made by Mr. Williams in his Objections and

 Sentencing Memorandum that Mr. Williams used loan proceeds for legitimate business.

 However, Mr. William’s believes it is important for the Court to know that the available

 documents establish that he used a much greater amount than previously documented

 by prior counsel. Further review of the available record shows hundreds of thousands

 of dollars in additional loan proceeds used for legitimate business purposes as shown

 mostly by checks to third parties not identified in Mr. Williams' original sentencing

 memorandum.      This excludes other significant transactions with company venders

 which also occurred, but concerning which only limited records are available from the

 involved bank or venders.   In summary and as noted below, other than the funds used

 by Mr. Williams to purchase two cars, nearly all of the loans went toward expansion and

 operation of the company.

        Additional Use of Loan Proceeds – First Loan

        With respect to the first loan, the following additional sums were used for

 legitimate business purposes. Prior counsel limited this analysis to the sum that was

 originally committed to operating expenses, $32,279.76.        However, Mr. Williams

 negotiated significant discounts in paying off other loans which provided extra cash for

 operating expenses. Mr. Williams’ purchase of used machines from Ross Vending also

 created cash that could be used for operating expenses. Although not the intended

 purpose, he additionally used some of the distributions intended for loan payoffs for

 operating purposes. Some of this funded the below listed additional expenses that were

 legitimate




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 business expenses2:



     Recipient          Date             Amount              Purpose            Documentation
                                                              Loan
                                    $                        brokerage
     Jim Moldane        12/31/2008 39,200.00                 fee                WF_00000734
                                    $
     Seven Up             1/3/2008 18,000.00                  Product           WF_00000530
                                    $                         Warehouse
     Bloom Realty         1/3/2008 23,000.00                 rent               WF_00000531
                                    $                         Supply
     Medved               1/3/2008 3,100.00                  truck repairs      WF_00000532
     Penske                         $                         Delivery
     Rental               1/3/2008 5,842.46                  truck rental       WF_00000533
                                    $
     Soft Delivery        1/3/2008 10,123.20                  Product           WF_00000807
                                                              AMX -
                                                             various
                                                             business
                                    $                        expense
     AMX                  1/4/2008 2,405.52                  DETAIL!            WF_00000570
                                    $
     Coca Cola            1/5/2008 5,000.00                   Product           WF_00000535
                                    $
     Soft Delivery       1/10/2008 7,500.00                   Product           WF_00000811
                                                              "Beverage
                                                             purchase"
                                                             noted in
                                                             memo line.
                                                             Mr. Williams
                                                             often used
                                                             cash to
                                                             purchase
                                                             product to
                                                             obtain a
                                                             cash
                                                             discount
                                     $                       from
     Cash                           30,000.00                wholesalers. WF_00000765
                                     $                        Loan
     Web Bank              2/3/2008 8,334.24                 payment      WF_00000736
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  All of the Wells Fargo documents (WF xxxxxxxx) are attached as Exhibits 3a, 3b and 3c in the order presented
 herein.

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                              $                Loan
  Web Bank          2/5/2008 8,334.24         payment      WF_00000737
                              $
  Sam's Club        3/5/2008 1,221.88         Product      WF_00000787
  Michael Bloom               $               Warehouse
  Realty           2/20/2008 1,400.00         rent         WF_00000796
                                               AMX -
                                              various
                              $               business
  AMX              2/20/2008 2,000.00         expenses     WF_00000572
                                              Bank
                                              Service
                              $               charge -
  Wells Fargo      2/12/2008 78.97            DEBIT        WF_00000572
  Maaliki                     $                Truck
  Motors           2/20/2018 2,000.00         repair       WF_00000722
                              $                Principal
  Wells Fargo      2/20/2008 5,000.00         Payment      WF_00000743
                                               Mr.
                                              Williams
                                              purchased
                                              equipment
                                              to go with
                                              vending
                                              machines.
                                              "Equipment
                                              Aspects"
  Equipment                   $               noted on
  Purchase         2/21/2008 28,000.00        memo line    WF_00000799
                                               Payments
                              $               associated
  HFC/Beneficial   2/25/2008 1,500.00         with loan    WF0000783
                                               Payments
                              $               associated
  HFC/Beneficial   2/25/2008 200.00           with loan    WF0000782
                                               Payments
                              $               associated
   Elevations      2/25/2008 1,695.91         with loan    WF0000790
                                               Loan
                              $               Payment -
  Wells Fargo       4/8/2008 1,554.08         debit        WF0000576
                                               Loan
                              $               Payment-
  Wells Fargo      4/29/2008 1,058.00         debit        WF0000576
                              $                Payments
  HFC/Beneficial   4/15/2008 450.00           associated   WF0000781

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                                                            with loan
     Anthony                        $                        Payment to
     Mastin              4/22/2008 150.00                   employee           WF0000760
                                                             Payments
                                    $                       associated
     HFC/Beneficial      4/29/2008 250.00                   with loan          WF0000760
                                          $
     TOTAL                               207,398.50


          During this period some of the first loan proceeds were deposited in another

 company account (Wells Fargo # 144-5071129).                         This account was used by Mr.

 Williams’ father to pay regular small expenses, such as utilities.                        These payments

 average approximately $2,000 a month. See WF0000605-630. This totaled another

 approximately $24,000 that went to legitimate purposes.

          If one deducts from these operating expenses the $32,279.76 prior counsel

 already deducted and adds the remainder to prior counsel’s total, this identifies

 approximately $606,147 in funds that went to legitimate expenses relating to the original

 $787,000 in loan proceeds.

          At the same time, Mr. Williams was using loan proceeds to purchase product

 from wholesale suppliers and retailers such as Costco and Sam’s Club.                               As noted

 previously, records showing that cash went to wholesale suppliers are not available and

 also not available from Costco, but Sam’s Club did provide records. 3 The records

 document that from December 2007 onward, Mr. Williams spent on average $3,500 a

 month a Sam’s Club. An example month of the records is attached as Exhibit 4. It was

 Mr. Williams’ practice to purchase items for resale from both Sam’s Club and Costco

 depending on which retailer had the best price. He on average spent at least equal
 3
  The records were provided in response to a subpoena ducas tecum and the originals are in possession of the
 court administrator.

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 amounts at both retailers. This means he spent approximately $7,000 a month on

 product, yet checks to Sam’s Club (as noted above) only totaled $1,221.88 paid in out in

 March 2008. The other payments to Sam’s Club and Costco were obviously in cash.

 This documents an additional approximate $31,000 of cash proceeds expended from

 the first loan proceeds, resulting in a total of $637,000 of legitimate expenses relating to

 the original $787,000 in loan proceeds.

        Additional Use of Loan Proceeds – Second Loan

      With respect to the second loan, the following additional sums were used for

 legitimate business purposes.       Prior counsel listed checks totaling $177,806.57.

 However, there were extensive legitimate business expenses that for reasons unknown

 to present counsel were not included. These included:


  Recipient     Date        Amount          Purpose          Documentation
                                             Loan to
   Erickson     5/12/2008       $4648.05    employee         WF0000763
                                             Travel
                                            expenses
                                            relating to
                                            Ross
                                            Equipment        Debit -
   Travel       5/15/2008       $1498.04    Purchase         WF0000579
                                             Travel
                                            expenses
                                            relating to
                                            Ross
  Frontier                                  Equipment        Debit -
  Airlines      5/15/2008         $566.39   Purchase         WF0000579
                                             Delivery
  Chris                                     truck
  Caruso        5/20/2008       $9500.00    purchase         WF0000779
  American
  National
  Bank          5/29/2008       $1700.00   Payroll           WF0000798
                                           Payment
   HSBC          6/9/2008         $800.00 associated         WF0000800

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                                          with loan

   Coca Cola    7/7/2008        $326.35 Product           WF0000742
                                        Loan
  Web Bank      6/4/2008        $6975.2 Payment           WF0000724
  Michael
  Bloom                                Warehouse
  Realty       6/10/2008      $3200.00 Rent               WF0000735
  American
  National
  Bank         6/20/2008      $1600.00 Payroll            WF0000789
  Arapahoe
  County                               Truck
  Clerk        6/25/2008      $1442.15 property tax       WF0000725
                                       Travel
                                       expenses
                                       relating to
                                       Ross
               7/2-                    Equipment
  Travel       7/2008                  Purchase           WF0000588
                                        Loan
  Web Bank      7/5/2008      $4600.00 Payment            WF0000728
                                        Loan
  Web Bank      7/5/2008      $8000.00 Payment            WF0000727
  Vending
  Security     7/25/2008      $1164.29 Equipment          WF0000589
                                       Loan
  Web Bank      8/5/2008        $4345 Payment             WF0000732
  American
  National                             Loan
  Bank          8/2/2008      $1515.12 Payment            WF0000793
  Metro
  Printing      8/6/2008       $1347.85    Brochures      WF0000731
                            $
   TOTAL                   53,228.44


       All of the above was in additional to various cash withdrawals Mr. Williams

 converted to cashier’s checks and used to make payments to venders. If one includes

 the $7,000 a month that went to Costco and Sam’s Club for the remainder of 2008,

 $56,000, the total legitimate use of the proceeds was $287,035 of the $300,000 loan.

       Had Mr. Williams been intending to use the cash for personal purposes, he would
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 have had no reason to obtain the cashier’s checks in the first place. Mr. Williams hoped

 he could obtain bank records showing the backs of cashier’s checks to provide the

 Court more exact documentation of the expenditures.        However, even without that

 documentation, and other than the approximately $80,000 used to purchase personal

 vehicles, the above information establishes that he used nearly all of the loan proceeds

 for legitimate purposes.

        Any suggestion that Mr. William’s sole intentions for the period he ran the

 company was to simply get himself large sums of money is counter to the

 documentation. He paid employees, he stocked product, he tried to expand the number

 of vending machines operated by the company, he committed to a lease on a new

 warehouse, rented by Gateway LLC, shortly before the company went into receivership.

 All this conduct is counter to such an intent.

        Given that Mr. Williams used nearly all of the prior loan proceeds for legitimate

 business purposes and the lack of relevance of Probation’s assertions relating to the

 scope of loan repayments, the weight of the evidence shows that Mr. Williams did not

 intend to cause a loss in the full amount of the unfunded loan.        Accordingly, Mr.

 Williams’ believes his objection to the PSR’s calculation of guideline loss should be

 sustained, and his sentence based on the 14-level enhancement of U.S.S.G. §

 2B1.1(b)(1)(H), not the 16-level enhancement of § 2B1.1(b)(1)(I) applied in the PSR.

                       b. Programming Completed by Mr. Williams

        Prior counsel discussed programs completed by Mr. Williams. Mr. Williams has

 completed three programs:

        November 2017 – Good Intentions Program (certificate attached - Exhibit 5)

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        December 2017 – Emotional Self-Regulation

        2018 - Cognitive Therapy.

                             c. Mr. Williams’ Medical Condition


        Mr. Williams was first incarcerated in FDC in March 2016. Over time he raised

 his concerns regarding his knee with staff, but he was not actually taken to be examined

 by adoctor until November 2017. As noted in records previously filed with Mr. Williams

 Motion to Continue Sentencing, he has “degenerative joint disease of right knee” and

 that “ultimately he will need a knee replacement.” The knee has continued to

 degenerate and he now needs to use crutches to move even short distances. His

 orthopedist, Dr. Jeffery Arthur, has provided the attached letter, Exhibit 6, further

 detailing Mr. Williams’ condition and notes that there are no other treatment options

 available.

        Also as noted in the Motion to Continue, while in FDC, Mr. Williams progressively

 began to suffer from an enlargement of a hernia. He was examined in April 2017 and

 surgery was recommended. He had surgery on January 24, 2018. However, he has

 not done well post-operatively. He was taken back for a scan and it was determined

 that he needs additional surgery to re-repair the hernia. He has been told this has been

 scheduled but as of this date the surgery has yet to occur. Accordingly, Mr. Williams is

 again filing a Motion to Continue concurrently with this filing.

        It is evident to Mr. Williams that he is unlikely to be provided knee replacement

 surgery while at FDC and even more unlikely to be provided such surgery by the

 Bureau of Prisons. He cannot exercise which contributes further to the degeneration of

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 his knee. There is little doubt his whole time in prison will be spent on crutches. He will

 continue to deteriorate. He will not be able to remedy this until he is released and can

 obtain a knee transplant out of custody.

       Section 3553(a)(2)(D) requires the Court to consider “the need for the sentence

 imposed . . . to provide the defendant with needed . . .medical care . . . in the most

 effective manner.”    Here the need cannot realistically be fulfilled until Mr. Williams has

 been released.       Medical needs have been recognized by the courts as justifying

 reduced sentences. See for example: •United States v. Alemenas, 553 F.3d 27 (1st

 Cir. 2009) (after granting departure from career offender guideline for defendant

 charged with crack distribution, district court also varied 43 months below the reduced

 range citing defendant’s chronic neck pain and his mental and emotional condition.);

 United States v. Spigner, 416 F.3d 708 (8th Cir. 2005) (although defendant who sold

 more than 50 grams of crack had agreed not to ask for downward departures based on

 health, case was remanded because district court could still impose a sentence lower

 than the suggested range and § 3553(a)(2)(D) required court to consider the need to

 provide medical care in the most effective manner where defendant suffered from high

 blood pressure so severe it resulted in kidney failure, required regular dialysis treatment

 and surgery); United States v. Garcia-Salas, 260 Fed. App’x 27 (10th Cir. 2007)

 (unpublished) (sentence at bottom-end of guideline range reversed and remanded for

 resentencing because it is clear 10th Circuit precedent had effectively foreclosed

 variances and post-Gall and Kimbrough, district court had greater sentencing discretion

 than it thought it did; defendant    argued for a lower sentence for his extraordinary

 physical impairment, vulnerability in prison, extraordinary family circumstances, and
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 mental and emotional condition). United States v. Martin, 363 F.3d 25 (1st Cir. 2004)

 (in tax fraud case, three level downward departure proper (and possibly more on

 remand) where “several serious medical conditions make Martin’s health exceptionally

 fragile [and] . . . we are not convinced that the BOP can adequately provide for Martin’s

 medical needs during an extended prison term [and] [t]here is a high probability that

 lengthy incarceration will shorten Martin’s life span”).

        Wherefore, Mr. Williams requests a non-guideline sentence as described in his

 original Sentencing Memorandum.

              Dated: September 7, 2018


              Respectfully submitted,

                                            s/ Steven K. Jacobson
                                            Steven K. Jacobson
                                            Collins, Rafik and Jacobson LLC
                                            1881 9th St., Suite 315
                                            Boulder, Colorado 80302
                                            Telephone: 303-444-9292
                                            Fax: 303-447-0200
                                            e-mail: steve@collinsrafik.com


                         CERTIFICATE OF SERVICE (CM/ECF)

       I hereby certify that on September 7, 2018, I electronically filed the foregoing
 DEFENDANT'S SUPPLEMENTAL SENTENCING MEMORANDUM with the Clerk of
 the Court using the CM/ECF filing system which will send notification of such filing to all
 counsel of record in this case.

                                            s/ Steven K. Jacobson
                                            Steven K. Jacobson




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                                                                      U. S, Srnall Business Administration


                                                                                      NOTE




    SBA Loan #              PLP 28835750- 00



    SBA Loan Name
                            VVilliams Vending Company,         Inc.


    Date                    Dec 28, 2007


    Loan Amount              800. 000. 00



    Interest Rate           Wall Street Journal + 2. 50 `)/0



    Borrower                Williams Vending Company,          Inc.




    Operating               N/ A
    Company

    Lender                  WebBank




    1.     PROMISE      TO PAY:


           In return for the Loan, Borrower promises to pay to the erder of Lender the amount of
           Eight Hundred Thousand and No/ 100                                                                               Dollars,


           interest on the unpaid principal balance, and all other amounts required by this Note.



    2.     DEFINITIONS:


            Collateral" means any property taken as security for payment of this Note or any guarantee of this Note.
            Guarantor" means each person or entity that signs a guarantee of payment of this Note.
            Loan" means the loan evidenced          by this Note.

             Loan Documents"       means the documents           related to this loan signed by Borrower, any Guarantor, or anyone who
             pledges collateral.


             SBA" means the Small Business Administration,               an Agency of the United States of America.




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                                                 179
3.        PAYMENT TERMS:

            Borrower must make all payments at the place Lender designates. The payment terms for this Note are:
The nterest rate on this Note will fluctuate.               The initial interest rate b975%   per                                        the date SBA

 received       the loan applicatiori,   plus 2. 50%.   The initia( interestrate must remain in effecuntil the first change period begins.

 Borrower must pay one payment of interest only on the disbursed principal balance one month from the month this Note is dated;
 payment must bemade onthe fi# hcalendar day inthe month it\ odue.

 Borrower must pay principal and interest paymentspayments of $ 8770. 50 every month, beginning two months from the month this Note is dated:
 payments must be made ori the ftfth calendar day in the months they are due.

 Lender will apply each installment payment first to pay interest accrued to the day Lender receives the payment, then to bring principal
 current, then to pay any late fees, and will apply any remaining balance to reduce principal.

 The interest rate will be adjusted every calendar quarter ( the " change period").

 The " Prime Rate" isthe prime rate ineffect onthe fimtbusiness day nfthe month \ nwhich aninterest rate change occurs, a» published
 in the Wall Street Journat on the next business day.

                                        above the Prime Rate. Lender will adjust the interest rate onthe fimtcalendar day ofeach
 The adjusted interest rate will be 2. 50%
 change period. The change in interest rate is effective on that day whether or not Lender gives Borrower notice of the change.

 Lender must adjust the payment amount at least annually as needed to amortize principal over the remaining term of the note.

 If SBA purchases the guaranteed portion of the unpaid principal balance, the interest rate becomes fixed at the rate in effect at the time
 of the earliest uricured payment default. If there is no uncured payment defautt, the rate becomes fixed at the rate in effect at the time
 of purchase.



 Loan Prepayment:


     Notwithstanding any provision in this Note to the contrary:
                                                                                                                                                 If
     Borrower may prepay this Note.          Borrower may prepay 20% or Iess of the
     Borrower    prepays   more than 20%      and the Loan has been sold on the secondary market, Borrower must:

     a.   Give Lender written    notice;


     b. Pay alt accrued interest; and

     c. If the prepaymentiomweived| euothan21dayohnmthodateLendarnaoovnuthe                          notice, pay an amount equal to 21 days interest
     from the date lender receives the notice, tess any interest accrued during the 21 days and paid under subparagraph b., above.
     If Borrower does not prepay within 30 days from the date Lender receives the notice, Borrower must give Lender a new notice.
     All remaining principal and accrued interest is due and payable 14 years from date of Note.
                                                                                                                                             of the unpaid
     Late ChIf a paymento this Note is more than 10 days late, Lender may charge Borrower a late fee of up to 5. 00%
     portion of the regularly    scheduled     payment.




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     4.         DEFAULT:

           Borrower is in default under this Note if Borrower does not make a payment when due under this Note, or if Borrower
           or Operating          Company:

           A.      Fails to do anything required by this Note and otheLoan Documents;
           8.      Defaults 00 any other loari with Lender;

           C. Does not preserve, or account to Lender' s satisfaction for, any of the Collateral or its proceeds;
           D. Does not disclose, or anyone acting on their behalf does not disclose, any material fact to Lender or SBA;
           E. Makes, or anyone acting on their behalf makes, a materially false or misleading representation to Lender or SBA;
           F. Defaults 00 any loan or agreoment with another creditor, if Lender beteves the default may materially afTect
                   Borrower' s ability to pay this Note;
           G.      Fails to pay any taxes when due;
           H. Becomes the subject of a procoeding under any bankruptcy or insolvency law;
           I.
                   Has a receiver or liquidator appointed for any part of their busiriess or property;
           J.      Makes       an assignment      for the benefit    of creditors;

           K. Has any adverse change in financial condition or business operation that Lender believes may materially affect
                   Borrower' s ability to pay this Note;
           L.      Reorganizes,       merges,    consolidates,      or othe      e changes ownership or business structure without Lender' s prior
                   writteri    consent;    or



           M. Becomes the subject of a civil or criminal action that Lender believes may materially affect Borrower' s ability to
                   pay this Note.



     5.         LENDER' S RIGHTS IF THERE IS A DEFAULT:


                 Without notice or demand and without giving up any of its rights, Lender may:
           A. Require immediate payment of aPI amounts owing under this Note;
           B. Collect all amounts owing frorn any Borrower or Guarantor;
           C. File suit and obtain judgment;

           D. Take possession of any Collaterat; or
           E, Sell, lease, or otherwise dispose of, any CoILteraI at public or private sale, with or without advertisement.



      6.          LENDER' S GENERAL POWERS:


           Without notice and without Borrower' s consent, Lender may:

           A Bid 00 or buy the CoTlateral at its sale or the sale of another lienholder, at any price it chooses;
            B. lncur expenses to collect amounts due under this Note, enforce the terms of this Note or any other Loan
                   Document, and preserve or dispose of the Collateral. Among other things, the expenses may include payments
                   for property taxes, prior liens, insurance, appraisals, environmental remediation costs, and reasonable attorney' s
                   fees and costs. If Lender incurs such expenses, it may demand immediate repayment from Borrower or add the
                   expenses       to the principal    balance;


                C. Release anyone obligated to pay this Note;
                D. Comprornise, release, renew, extend or substitute any of the Collateral; and
                E. Take any action necessary to protect the Collateral or collect amounts owing on this Note.




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   7.   WHEN     FEDERAL       LAW APPLIES:


        When SBA is the holder, this Note will be interpreted and enforced under federal law, including SBA regulations.
        Lender or SBA may use state or local procedures for filing papers, recording documents, giving notice, foreclosing
        liens, and other purposes. By using such procedures, SBA does not waive any federal immunity from state or local
        control, penalty, tax, or liability. As to this Note, Borrower may not claim or assert against SBA any local or state law
        to deny any obligation, defeat any claim of SBA, or preempt federal law.



   8.   SUCCESSORS AND ASSIGNS:


        Under this Note, Borrower and Operating Company include the successors of each, and Lender includes its successors
        and   assigns.




        GENERAL          PROVISIONS:


        A. All individuals and entities signing this Note are jointly and severally liable.
        B.    Borrower waives all suretyship defenses.

        C.    Borrower must sign all documents necessary at any time to comply with the Loan Documents and to enable
              Lender to acquire, perfect, or maintain Lender' s liens on Collateral.

         D. Lender may exercise any of its rights separately or together, as many times and in any order it chooses. Lender
              may delay or forgo enforcing any of its rights without giving up any of them.
         E. Borrower may not use an oral statement of Lender or SBA to contradict or alter the written terms of this Note.
         F.   If any part of this Note is unenforceable, all other parts remain in effect.
         G. To the extent allowed by law, Borrower waives all demands and notices in connection with this Note, including
              presentment, demand, protest, and notice of dishonor. Borrower also waives any defenses based upon any claim
              that Lender did not obtain any guarantee; did not obtain, perfect, or maintain a lien upon Collateral; impaired
              Collateral;   or did not obtain the fair market value of Collateral   at a sale.




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    10.   STATE'   SPEC| F| C; PR0V| S| 0NS:




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     11.        BORROWER'        S NAME( S) AND         SIGNATURE(   S):


            By signing below, each individual or entity becomes obligated under this Note as Borrower.

     Williams    Vending   Company,    Inc.


     Signature:                                                                                                 Date:

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        The guaranteed portion of this
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                                            MODIFICATION        TO PROMISSORY          NOTE




    BORROWER:                                                                               LENDER:
                                                                                            WebBank
    Williams Vending Company, Inc.
    2200 Chambers Road, Unit F                                                              6440 South Wasatch Blvd., #300
    Aurora,      CO   80011                                                                 Salt Lake City, UT 84121



    This MODIFICATION TO PROMISSORY NOTE (this " Agreement") dated as of June 10, 2008 by and between
    Williams Vending Company, Inc. ("           Borrower")    and WebBank ("    Lender") is as follows:


                                                               RECITALS


    A. All capitalized terms used and not defined herein have the meanings given to them in the Agreement.


     B. Borrower and Lender, are parties to that certain Loan Agreement dated as of May 9, 2008 ( the " Loan
    Agreement"),      pursuant to which Lender agreed to make a loan to the Borrower in the original principal amount of
      300, 000. 00 ( the " Loan") upon the terms and conditions set forth therein.


    C.    In connection   with and pursuant to the Loan, Borrower executed and delivered to Lender certain documents          and
    instruments, including without limitation a Promissory Note dated May 9, 2008 in the amount of 8300,000.00 (The
     Note").



    D. The Loan is secured with a Gist security interest in all equipment, inventory and leasehold improvements, as
     described in the Security Agreement dated May 9, 2008 ( the " Security Agreement").

     E. The obligations       and liabilities of Borrower to Lender in connection   with the Loan and under the Agreement,    the
     Note and the other Loan Documents, were guaranteed by the following:

                                              Carin E. Vecchiarelli



     Said guarantees for each of the aforementioned are evidenced by the certain respective Guaranty Agreements dated
     May 9, 2008 ( The " Guaranties")       each individual and business listed above are referred to, collectively, as the
      Guarantors".


     F.   The Loan was also guaranteed in part by the U. S. SMALL BUSINESS ADMINISTRATION ( the " SBA").

                                                              AGREEMENT


     In consideration     of the premises, mutual covenants and agreements contained herein, and for other good and
     valuable consideration, the receipt and sufficiency of which is hereby acknowledged, Borrower and Lender hereby
     agree as follows:


     1. Incorporation of Recitals. The parties acknowledge the truth and accuracy of the statements, facts, and events
     set forth in the above Recitals, and incorporate the same herein by this reference.

     2.   Modification.



     2. 1. Section 1 of the Note (Promise to Pay) will be modified to read as follows: In return for the Loan,
     Borrower promises to pay to the order of Lender the amount of Three Hundred Sixty Thousand and and
     no/ 100' s dollars ($ 360, 000. 00).


     2.2. Section 3 of the Note ( Payment Terms), paragraph 3, will be modified in regard to the monthly amount
     of the principal and interest payment; the new payment amount will be $ 4, 344. 46 each month, beginning July
      5, 2008.




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    2. 3 All other terms and conditions of the Note and Loan Agreement will remain in full force and effect.

    3.        Security. Borrower hereby reaffirms its prior grant to Lender of security interests in the Collateral as security
    for the full and prompt payment in cash and performance          of the Obligations.


    4.         Conditions Precedent. This Agreement shall not take effect until all of the following conditions have been
    met to the satisfaction of the Lender, unless any such condition has been waived in writing by Lender.

    4. 1 As of the date hereof, no default or event of default has occurred and is continuing under the Loan Documents
     and no condition exists or event has occurred which, with the giving of notice or the lapse of time or both, would
     constitute an event of default thereunder.


     42 This Agreement has been duly executed and delivered by Borrower and has been executed by Lender.

     4. 3 Borrower has obtained the consent of the Guarantors to this Agreement and such Guarantors have executed and
     delivered to Lender the " Acknowledgment and Consent" appearing at the end hereof.

     4.4 Borrower has paid to Lender or has reimbursed Lender for, all third party costs and expenses incurred by
     Lender in connection with this Agreement, including without limitation reasonable attorney' s fees and expenses
     incurred in negotiating, preparing or reviewing the same.

     Borrowers Representations and Warranties. In addition to the representations and warranties of Borrower
     contained in the Loan Documents, each of which is hereby reaffirmed by Borrower on and as ofthe date ofthis
     Agreement,        Borrower represents and warrants to the Lender that:


     5. 1 Borrower has all requisite power under its Articles of Incorporation, and authority to execute deliver and carry
     out this Agreement_ Borrower has taken all action necessary as a corporation to authorize the execution, delivery and
     performance of this Agreement and has duly executed and delivered this Agreement. This Agreement constitutes the
      valid and legally binding obligation of Borrower enforceable against it in accordance with its terms.

         5. 2 Lender holds a valid, perfected, security interest in the Collateral, with lien priorities as defined in the Loan
         Documents.



         5. 3 No oral or written statement by Lender, other than within this Agreement, or of any of its partners or
         representatives shall constitute a representation, covenant, warranty or agreement on the part of the Lender to extend
         any further credit to Borrower, to extend the term of financial accommodations to Borrower or to restructure in any
         way any of the Obligations or otherwise bind Lender with respect to its future relationship with Borrower under the
         Loan Documents. The practices and methods of dealing between Lender and Borrower in connection with this
         Agreement shall not constitute, evidence, or create any expectation or reliance on the part of the Borrower
         applicable to any future transaction between Lender and Borrower.

         5.4. The contents of this Agreement including the Recitals are true and accurate.

         6.      Remaining terms unchanged. Except as expressly modified hereby, all of the remaining terms and conditions
         contained in the Loan Agreement, the Modification, the Note, the Trust Deeds, the Security Agreement, the
         Guaranties and the other Loan Documents shall remain in full force and effect Without limiting the foregoing, the
         Loan and the Loan Documents shall continue to be secured by the Trust Deeds and the Security Agreement, and the
         obligations thereunder shall continue to be guarantied by the Guarantors pursuant to their respective Guaranties.

          7.     Entire Agreement. This Agreement constitutes the entire understanding and agreement of the parties with
          respect to the general subject matter hereof, supersedes all prior negotiations, discussions and agreements with
          respect thereto, and may not be contradicted by any evidence of any oral agreement. This Agreement may not be
          modified, amended, or rescinded in any manner except by written agreement signed by the parties thereto.




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    IN WITNESS WHEREOF, the parties hereto have caused this MODIFICATION OF PROMISSORY NO 1' b to be
    executed this 10th day of June, 2008.


     BORROWER;                                                         LENDER:



     Williams Vending Company, Inc.                                    WebBank




     By:                        Ozcci                  0/              By:           7.
           Carin E. Vecchiarelli,   President   of                           Richi        Larnbert, lice President
           Williams Vending Company, Inc.



                                ACKNOWLEDGEMENT             AND CONSENT          OF GUARANTORS



     Each of the undersigned Guarantors hereby acknowledges receipt of the foregoing Agreement and consents to the
     terms and conditions      thereof All of the definitions   set forth in this Agreement        are incorporated   herein by this
     reference. Each of the undersigned Guarantors hereby acknowledges, ratifies and reaffirms the Guarantee given by
     him or it, as set forth in the Definitions of the Loan Agreement; that such Guarantee was given for good and
     valuable consideration at or prior to the snaking of the Loan and represents the valid, legal, and binding obligation of
     such Guarantor, and acknowledges that its or his obligations and liabilities under such instrument of guaranty will
     continue to absolutely and unconditionally guarantee the obligations, liabilities and indebtedness of Borrower to
     Lender with respect to the Loan and the Loan Documents as modified by this Agreement_ Each of the undersigned
     Guarantors acknowledges that Lender is relying on the execution of this Acknowledgement and Consent as a
     condition to entering into this Agreement, and waives any notice of acceptance by Lender.

     Executed this 10d1 day of June, 2008.


     GUARANTORS:




       Gc/ALL E
      Carin E. Vecchiarclli, . Individually




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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

      Criminal Action No. 1:15-cr-00395-REB

      UNITED STATES OF AMERICA,

           Plaintiff,

      v.

      1. ALAN ALONZO WILLIAMS, Defendant.


           DEFENDANT’S FOURTH UNOPPOSED MOTION TO CONTINUE
                          SENTENCING HEARING


                 Defendant, Alan Alonzo Williams, by and through counsel, requests that

      the sentencing in this matter, current scheduled for September 26, 2018 at

      11:00 a.m. be continued.        Mr. Williams requests the Court set the matter for a

      status conference instead of a new sentencing date because his planned

      surgery has not yet occurred. Counsel intends to inform the Court the moment

      he is aware that Mr. Williams has had the surgery so that the Court can

      reschedule any sentencing hearing consistent with its docket if it so desires. In

      support of this Motion to Continue Sentencing Hearing (“Motion”), Mr. Williams

      states as follows:

            1.          This matter has been continued a number of times with the hope

     that Mr. Williams would receive his needed hernia re-repair surgery prior to

     sentencing.

            2.          Since the matter was most recently continued, the authorities at

     FDC have repeatedly informed him that they were aware of his sentencing date

     and would arrange for the surgery to occur before that date.


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           3.     It was not until last week though that Mr. Williams was returned to

     see the surgeon. The surgeon told him that he needed to be scheduled for an

     ultra-sound prior to surgery.

           4.     As of this date Mr. Williams has not been taken to have a new ultra-

     sound. Given these circumstances, it appears highly unlikely to counsel or Mr.

     Williams that the surgery is going to occur prior to the present sentencing date.

     This is the case even though as noted in Mr. Williams’ prior motion to continue

     he was assured that the facility would do everything it could to “get it (the

     surgery) done” timely.

           5.     Also as noted in Mr. Williams’ previous motion to continue, were

     Mr. Williams to be sentenced prior to receiving surgery, he would end up

     at a new facility and in effect go to “the bottom of the list” with respect to

     receiving treatment. He would lose any chance for continuity of care with the

     chance to have the doctor most familiar with his condition, and who did the

     original surgery, re-repair the hernia.

           6.     Mr. Williams again wants the Court to know that he knows and

     accepts that he is facing a lengthy period of incarceration. He simply wants the

     chance to serve his sentence with at least this significant health problem

     resolved.

           7.     Mr. Williams is again aware that the matter has been continued on

     several occasions, but begs the Court to give him a chance to resolve his

     hernia condition prior to sentencing.

           8.     Counsel for Mr. Williams has conferred with AUSA Rebecca

     Webber about this request. The government does not oppose this request

            Dated: September 7, 2018.
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                  Respectfully submitted,

                                               s/ Steven K. Jacobson
                                               Steven K. Jacobson
                                               Collins, Rafik and Jacobson LLC
                                               1881 9th St., Suite 315
                                               Boulder, Colorado 80302
                                               Telephone: 303-444-9292
                                               Fax: 303-447-0200
                                               e-mail: steve@collinsrafik.com


                           CERTIFICATE OF SERVICE (CM/ECF)

             I hereby certify that on September 7, 2018 electronically filed the foregoing
     DEFENDANT’S FOURTH UNOPPOSED MOTION TO CONTINUE
     SENTENCING with the Clerk of the Court using the CM/ECF filing system which
     will send notification of such filing to all counsel of record in this case.

                                              s/ Steven K. Jacobson
                                              Steven K. Jacobson




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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

      Criminal Action No. 1:15-cr-00395-REB

      UNITED STATES OF AMERICA,

            Plaintiff,

      v.

      1. ALAN ALONZO

            WILLIAMS, Defendant.




           REQUEST FOR ORDER DIRECTING FACILTY TO PROVIDE A MEDICAL
           EVALUATION AND AN EXPLANATION OF WHETHER MR. WILLIAMS
           WILL RECEIVE TREATMENT PRIOR TO SENTENCING


             Defendant, Alan Alonzo Williams, by and through counsel, requests this

     Court to enter an order directing the authorities at the Federal Detention Center to

     provide the Court a medical evaluation detailing if Mr. Williams will receive a cat

     scan and surgery to repair his hernia prior to sentencing.

             Counsel has conferred with AUSA Rebecca Webber as to this motion and

     Ms. Weber informed counsel she takes no position as to this motion.

             In support of this Motion for Order, Defendant states as follows:

               1.        This matter was originally set for sentencing on April 6, 2017 at

      10:00 A.M. The sentencing was continued on the motion of the Defendant in

      order for him to receive surgery for his hernia condition. As noted in previous

      motions to continue, he had repeatedly been scheduled for surgery and

      repeatedly the surgery had not occurred. Surgery was first schedule for March

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      22, 2017; however, it did not occur. His condition was not addressed again

      until October 24, 2017 when surgery was ordered for a target date of

      November 28, 2017. However, surgery was not actually performed until

      January 24, 2018. Counsel is aware of no reason why it took eight months for

      the facility to arrange for the surgery. Counsel has now spoken to the surgeon’s

      office and has been informed that the doctor, Richard Tilquist, is usually

      available for surgery within two weeks of a request to schedule.

           2.        Soon after the surgery was performed it became clear to Mr. Williams

     that the surgery failed. He remained in pain.       Mr. Williams continued to raise

     this issue with the health services at FDC. He was told he would be taken

     back to be re-evaluated. This was repeated scheduled but never occurred until

     June 1, 2018, a four month period. On June 1, 2018, he received a cat scan

     which indicated that he again needed surgery to re-repair the hernia. He was

     told the surgery would be scheduled.

            3.       Mr. Williams was then not returned to see the surgeon until the last

     week of August 2018, an almost three month period.            The surgeon told Mr.

     Williams and the FDC staff that surgery was necessary and he needed an

     additional cat scan to guide the surgical procedure.      In conversations with Dr.

     Tilquist’s staff, counsel has been informed that the new cat scan can be

     scheduled quickly and that as mentioned above, surgery could occur

     approximately two weeks thereafter.

                4.   Mr. Williams has been informed by the FDC medical staff that they

     are aware of his sentencing date and he is “on their schedule.”

                5.   It is now been an additional two months since a new cat scan was

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     supposed to be scheduled for Mr. Williams and nothing has happened.           Given

     the prior history, counsel is extremely concerned that the cat scan, much less

     surgery, even if “scheduled,” will not occur prior to the next sentencing date which

     is less than two months away.

             6.     Counsel believes the government had not objected to the

     continuances in this case and the Court granted them in order to prevent Mr.

     Williams from having to go to a new facility without receiving surgery. In such

     case, he would go to “the bottom of the list” with respect to receiving

     treatment. He would lose any chance for continuity of care with the chance to

     have the doctor most familiar with his condition, and who did the original

     surgery, re-repair the hernia.

             7.   Clearly, Mr. Williams’ surgery is a medical necessity.

             8. Mr. Williams is aware that the Court “cannot order that the Defendant

    receive any particular treatment within this context of this case . . . “,     U.S. v.

    Bencomo-Chacon, 2007 WL 2021850 (not reported in F.Supp. 2d), p.2.           And, that

    his alternatives are to assert civilly that his Eighth Amendment rights are being

    violated, see United States v. Garcia, 470 F.3d 1001, 1003 (10th Cir. 2006) and/or

    that he should be granted a modification of the conditions of his detention so that

    he can seek treatment out of custody.         However, Mr. Williams is scheduled for

    sentencing and:

            “(u)nder 18 U.S.C. § 3553(a), one of the factors the Court must
           consider in sentencing the Defendant is “the need for the sentence
           imposed ... to provide the defendant with needed ... medical care[.]”
           This requires an accurate assessment of what the Defendant’s
           current medical condition is, what treatment he needs, and whether
           and where he can receive such treatment while incarcerated . . .

           Therefore, pursuant to both 18 U.S.C. § 3145 and 18 U.S.C. §
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           3553(a), the Court concludes that it is within the Court’s authority to
           direct that a pretrial detainee such as the Defendant be provided
           with a medical evaluation.
     Id.

           9.     Accordingly, Mr. Williams request the Court enter the order as

    requested herein directing that the Court be provided a medical evaluation

    detailing if Mr. Williams will receive a cat scan and surgery prior to the presently

    scheduled sentencing date.

            Dated: October 29, 2018.

                                                Respectfully submitted,

                                               s/ Steven K. Jacobson
                                               Steven K. Jacobson
                                               Collins, Rafik and Jacobson LLC
                                               1881 9th St., Suite 315
                                               Boulder, Colorado 80302
                                               Telephone: 303-444-9292
                                               Fax: 303-447-0200
                                               e-mail: steve@collinsrafik.com


                           CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on October 26, 2018, I electronically filed the foregoing
     motion with the Clerk of the Court using the CM/ECF filing system which will
     send notification of such filing to all counsel of record in this case.

                                              s/ Steven K. Jacobson
                                              Steven K. Jacobson




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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

        Criminal Action No. 1:15-cr-00395-REB

        UNITED STATES OF AMERICA,

             Plaintiff,

        v.

        1. ALAN ALONZO WILLIAMS, Defendant.


               DEFENDANT’S FIFTH MOTION TO CONTINUE SENTENCING
               HEARING AND RENEWED REQUEST FOR AN ORDER DIRECTING
               THE FACILTY TO PROVIDE A MEDICAL EVALUATION


                    Defendant, Alan Alonzo Williams, by and through counsel, requests that

        the sentencing in this matter, currently scheduled for December 18, 2018 at

        11:00 a.m. be continued to a date on or after February 14, 2019.1

                 Defendant, Alan Alonzo Williams, by and through counsel, also renews his

        request (Doc. No. 114) for this Court to enter an order directing the authorities at

        the Federal Detention Center to provide the Court a medical evaluation detailing if

        and when Mr. Williams will receive a cat scan and surgery to repair his hernia.

               Counsel has conferred with AUSA Rebecca Webber as to this motion and

        Ms. Weber informed counsel she takes no position as to this motion.

                    In support of this Motion, Mr. Williams states as follows:

               1.         This matter has been continued a number of times with the hope

        that Mr. Williams would receive his needed hernia re-repair surgery prior to

        sentencing. There is no question but that the surgery is medically required. Mr.


    1
        Counsel will be out of state and out of the country from January 8, 2019 to February 13, 2019.


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     Williams remains incapacitated and in pain because of this.

           2.     As previously noted, the authorities at FDC have repeatedly

     informed Mr. Williams that they were aware of his sentencing dates and would

     arrange for the surgery to occur before those dates. Yet, a required pre-surgery

     cat scan and the surgery continue to have not been performed.        As noted by

     Mr. Williams in previous motions, this is not delay caused by the medical

     provider.

           3.     It is Counsel’s fervent hope that were the Court to again continue

     the matter and order the requested report, the authorities at FDC would

     recognize that they need to actually proceed by scheduling the cat scan and

     surgery, instead of continuing to simply make representation to Mr. Williams that

     they are purportedly working on it.   It is neither logical nor conceivable that it

     would take almost a year to get this done, yet this is what has happened.

           4.     As noted in Mr. Williams’ previous motions, were Mr. Williams to

     be sentenced prior to receiving surgery, he would end up at a new facility

     and in effect go to “the bottom of the list” with respect to receiving

     treatment. He would lose any chance for continuity of care with the chance to

     have the doctor most familiar with his condition, and who did the original

     surgery, re-repair the hernia.

           5.     Mr. Williams again wants the Court to know that he knows and

     accepts that he is facing a lengthy period of incarceration. He simply wants the

     chance to serve his sentence with at least this significant health problem

     resolved.

            Dated: November 28, 2018.


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                  Respectfully submitted,

                                               s/ Steven K. Jacobson
                                               Steven K. Jacobson
                                               Collins, Rafik and Jacobson LLC
                                               1881 9th St., Suite 315
                                               Boulder, Colorado 80302
                                               Telephone: 303-444-9292
                                               Fax: 303-447-0200
                                               e-mail: steve@collinsrafik.com


                           CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on November 28, 2018, I electronically filed the
     foregoing MOTION with the Clerk of the Court using the CM/ECF filing system
     which will send notification of such filing to all counsel of record in this case.

                                             s/ Steven K. Jacobson
                                             Steven K. Jacobson




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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

      Criminal Action No. 1:15-cr-00395-REB

      UNITED STATES OF AMERICA,

           Plaintiff,

      v.

      1. ALAN ALONZO WILLIAMS, Defendant.


            ADDITIONAL INFORMATION RELATING TO DEFENDANT’S FIFTH
            MOTION TO CONTINUE SENTENCING HEARING AND RENEWED
            REQUEST FOR AN ORDER DIRECTING THE FACILTY TO PROVIDE
            A MEDICAL EVALUATION


                 Defendant, Alan Alonzo Williams, by and through counsel, provides the

      Court the following information relating to his pending motion.

            1.          Mr. Williams has informed counsel that he has just met with the

    Warden.        The Warden informed Mr. Williams that he, the Warden, has recently

    signed orders approving Mr. Williams to be taken out for the cat scan and surgery.

    For security reasons, Mr. Williams could not be provided any exact dates.

            2.          Counsel remains concerned that even if this were to occur relatively

    soon, the matter would still need to be continued.

             Dated: December 4, 2018.

                        Respectfully submitted,

                                                   s/ Steven K. Jacobson
                                                   Steven K. Jacobson
                                                   Collins, Rafik and Jacobson LLC
                                                   1881 9th St., Suite 315
                                                   Boulder, Colorado 80302
                                                   Telephone: 303-444-9292
                                                   Fax: 303-447-0200


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                                               e-mail: steve@collinsrafik.com


                           CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on December 4, 2018, I electronically filed the
     foregoing MOTION with the Clerk of the Court using the CM/ECF filing system
     which will send notification of such filing to all counsel of record in this case.

                                             s/ Steven K. Jacobson
                                             Steven K. Jacobson




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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

      Criminal Action No. 1:15-cr-00395-REB

      UNITED STATES OF AMERICA,

           Plaintiff,

      v.

      1. ALAN ALONZO WILLIAMS, Defendant.


            ADDDITIONAL GROUNDS IN SUPPORT OF PENDING MOTION TO
            CONTINUE SENTENCING


                 Defendant, Alan Alonzo Williams, by and through counsel, has

      requested that the sentencing in this matter, currently scheduled for December

      18, 2018 at 11:00 a.m. be continued to a date on or after February 14, 2019.

      As detailed below, there exists grounds to continue the hearing in additional to

      the medical reasons cited in the motion.

            Counsel has conferred with AUSA Rebecca Webber as to these additional

     grounds and Ms. Weber informed counsel that although she continues to take no

     position as to the motion, she objects to a continuance if based on these

     additional grounds.

            In support of this Motion, Mr. Williams states as follows:

            1.          The Court will be required at sentencing to make a determination as

     to the defendant’s mental state as to the loss he intended. See United States v

     Manatau, 647 F.3d 1048, 1050 (10th Cir. 2011) (cited in the PSIR). However,

     in the recently filed PSIR addendum, it is argued that “loans obtained by fraud,




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     even if used for good purposes, are still fraudulently obtained” and thus any

     fraudulently obtained loan in effect must mean there was an intent to cause a

     loss of the whole amount. (Emphasis added). However, a desire to achieve

     “good purposes,” i.e. to grow Mr. Williams’ company and put it in a sound

     financial condition so that the loans could be repaid, would in fact show no intent

     to cause a loss.

           2.     There is additional relevant evidence, that if it could be produced,

     would assist the Court as to this issue was this matter continued. This includes:

                  a.     The testimony of employees of the company who now recall

           Mr. Williams discussing the sound financial purposes he had in mind for

           using the proceeds of the loan.

                  b.      The billing records of the wholesale supplier(s) to whom Mr.

           Williams made cash payments with the cashier’s checks he received

           showing that additional monies went directly to purchasing products as

           has been represented in prior pleadings.

                  c.       Additional documentation of Mr. Williams’ efforts to expand

           the company, not only by leasing a new warehouse as has been

           previously documented for the Court, but also in maintaining the lease

           thereafter.

                  d.     Additional documentation that payroll was made from cash

           proceeds which would further establish that during the whole period Mr.

           Williams was employing a significant workforce.

            Dated: December 13, 2018.




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                   Respectfully submitted,

                                                 s/ Steven K. Jacobson
                                                 Steven K. Jacobson
                                                 Collins, Rafik and Jacobson LLC
                                                 1881 9th St., Suite 315
                                                 Boulder, Colorado 80302
                                                 Telephone: 303-444-9292
                                                 Fax: 303-447-0200
                                                 e-mail: steve@collinsrafik.com


                            CERTIFICATE OF SERVICE (CM/ECF)

             I hereby certify that on December 13, 2018, I electronically filed the
    foregoing ADDITIONAL GROUNDS with the Clerk of the Court using theCM/ECF
    filing system which will send notification of such filing to all counsel of record in this
    case.

                                               s/ Steven K. Jacobson
                                               Steven K. Jacobson




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              Senior Judge Robert E. Blackburn

  Date:                 December 18, 2018

  Deputy Clerk:         Leigh Roberson
  Court Reporter:       Tracy Weir
  Probation Officer:    Kyla Hamilton


  Criminal Action No.                                    Counsel:

  UNITED STATES OF AMERICA,                              Steven Jacobson

          Plaintiff,

  v.

  ALAN ALONZO WILLIAMS,                                  Rebecca Weber

          Defendant.


                                  COURTROOM MINUTES


  Motion Hearing

  11:08 a.m.      Court in session.

  Appearances of counsel. Defendant is present in custody.

  Court’s opening remarks.

  Court addresses Defendant’s Fifth Motion to Continue Sentencing Hearing [ECF 115],
  filed November 28, 2018.

  IT IS ORDERED as follows:

  1. That [ECF 115] is granted;

  2. That the sentencing hearing set for this date and time is vacated and continued by
     agreement of all parties in interest to Wednesday, March 27, 2019, at 1:30 p.m., at
     which time the defendant shall appear before the Court without further notice or
     order from the Court;



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  3. That, pending sentencing, the defendant is remanded to the custody of the United
     States Marshal.


  11:15 a.m.    Court in recess.

  Total time in court: 00:07

  Hearing concluded.




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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                     Judge Robert E. Blackburn

  Criminal Case No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

           Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

           Defendant.


                             ORDER GRANTING MOTION TO CONTINUE

  Blackburn, J.

           The matter is before the court on the Defendant’s Fifth Motion to Continue

  Sentencing Hearing and Renewed Request for an Order Directing the Facilty [sic]

  to Provide a Medical Evaluation [#115],1 filed November 28, 2018. The motion is

  unopposed by the government. Having considered carefully the motion, the record, and

  the apposite law, I conclude the motion should be granted as provided in the orders

  below.

           THEREFORE, IT IS ORDERED as follows:

           1. That the Defendant’s Fifth Motion to Continue Sentencing Hearing and

  Renewed Request for an Order Directing the Facilty [sic] to Provide a Medical

  Evaluation [#115], filed November 28, 2018 is granted;



           1
              “[#115]” is an example of the convention the court uses to identify the docket number assigned to a
  specific paper by the court’s case management and electronic case filing system (CM/ECF). The court uses this
  convention throughout this order.




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         2. That the sentencing hearing set for December 18, 2018, is vacated and

  continued to March 27, 2019, at 1:30 p.m., at which time the defendant shall appear

  before the court without further notice or order; provided further, to the extent

  necessary, the United States Marshal for the District of Colorado shall assist the court in

  securing the appearance of the defendant;

         3. That by January 3, 2019, the warden of FCI Englewood (9595 West Quincy

  Avenue, Littleton, Colorado 80123)2 shall advise the court in writing about when the

  defendant shall receive the medical treatment, including any surgery, reasonably

  necessary to address the medical condition and needs of the defendant; and

         4. That this order shall be served on the warden of FCI Englewood (9595 West

  Quincy Avenue, Littleton, Colorado 80123).

         Dated December 18, 2018, at Denver, Colorado.

                                                          BY THE COURT:




         2
             The defendant is housed in FDC, the detention center associated with FCI Englewood.

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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

      Criminal Action No. 1:15-cr-00395-REB

      UNITED STATES OF AMERICA,

           Plaintiff,

      v.

      1. ALAN ALONZO WILLIAMS, Defendant.


            REQUEST TO APPEAR BY PHONE AT HEARING ON MOTION THAT
            COUNSEL BE WITHDRAWN


               Comes now Counsel for Mr. Williams and informs the Court of the

      following relating to the Court having set Mr. Williams request that counsel be

      withdrawn for a hearing on January 15, 2019 at 1:30 p.m.

               1. The Court has previously been made aware that Counsel is

                   unavailable from January 8, 2019 to February 13, 2019.

               2. Although out of the country, Counsel believes he could appear by

                   phone on the date and time presently set.

             Dated: December 20, 2018

                        Respectfully submitted,

                                                  s/ Steven K. Jacobson
                                                  Steven K. Jacobson
                                                  Collins, Rafik and Jacobson LLC
                                                  1881 9th St., Suite 315
                                                  Boulder, Colorado 80302
                                                  Telephone: 303-444-9292
                                                  Fax: 303-447-0200
                                                  e-mail: steve@collinsrafik.com


                                CERTIFICATE OF SERVICE (CM/ECF)


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           I hereby certify that on December 20, 2018, I electronically filed the
     foregoing REQUEST with the Clerk of the Court using the CM/ECF filing system
     which will send notification of such filing to all counsel of record in this case.

                                            s/ Steven K. Jacobson
                                            Steven K. Jacobson




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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                    Judge Robert E. Blackburn

  Criminal Action No. 1:15-cr-00395-REB

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

          Defendant.


                                             MINUTE ORDER1


         This matter is before me on defendant’s Letter [#128],2 filed December 28, 2018, by
  which he notifies the court that he intends to withdraw his prior request that his counsel be
  withdrawn. (See Letter [#124], filed December 17, 2018.) Having considered this more recent
  request, and being otherwise advised of the premises, I find and conclude that the relief
  requested should be granted; that plaintiff’s prior request should be withdrawn and the relief
  requested therein denied as moot; and the hearing previously set on the matter vacated.

          THEREFORE, IT IS ORDERED as follows:

           1. That the plaintiff’s request to withdraw his request that counsel be withdrawn, as set
  forth in his Letter [#128], filed December 28, 2018, is granted;

          2. That the relief requested in plaintiff’s previous Letter [#124], filed December 17,
  2018, is denied as moot; and

          3. That the hearing scheduled for Thursday, January 3, 2019, at 11:00 a.m., in this
  matter is vacated.

          Dated: January 2, 2019




          1
           This minute order is issued pursuant to the express authority of the Honorable Robert E.
  Blackburn, United States District Judge for the District of Colorado.
          2
              “[#128]” is an example of the convention I use to identify the docket number assigned to a
  specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
  convention throughout this order.



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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                     Judge Robert E. Blackburn

  Criminal Case No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  1. ALAN ALONZO WILLIAMS,

          Defendant.


                                       ORDER TO SHOW CAUSE

  Blackburn, J.

          This matter is before the court sua sponte.

          On December 18, 2018, I entered an Order Granting Motion To Continue [#122]1.

  Included in that order are the following specific orders:

                 3. That by January 3, 2019, the warden of FCI Englewood (9595 West
          Quincy Avenue, Littleton, Colorado 80123) shall advise the court in writing about
          when the defendant shall receive the medical treatment, including any surgery,
          reasonably    necessary to address the medical condition and
                        needs of the defendant; and

                4. That this order shall be served on the warden of FCI Englewood (9595
          West Quincy Avenue, Littleton, Colorado 80123).

  Order [#122], p. 2, ¶¶ 3 - 4 (footnote omitted). The order was sent to the Warden via certified

  mail. Certificate of service [#123]. The order was delivered, via certified mail, on December 27,

  2018. Receipt [#130]. At all relevant times, the defendant, Alan Williams, was housed at FDC,

  the detention center associated with FCI Englewood.

          To date, the court has not received from the Warden of FCI Englewood, Richard

  Hudgins, a response of any kind. Given the ostensibly contumacious non-compliance of the



          1
              “[#122]” is an example of the convention I use to identify the docket number assigned to a
  specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
  convention throughout this order.



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  Warden, Richard Hudgins, I order that he show cause in writing why he should not be held in

  contempt of court and punished as provided by law for failing to comply fully with the order of

  this court. To the extent the Warden seeks to present facts demonstrating the reasons for his

  non-compliance, he must file a sworn affidavit averring the facts on which he relies. Following

  the filing of a response to this Order To Show Cause by the Warden, Richard Hudgins, the

  court will determine if a contempt hearing is necessary.

         THEREFORE, IT IS ORDERED as follows:

         1. That on or before February 20, 2019, Richard Hudgins, Warden of FCI Englewood,

  shall show cause in writing why he should not be held in contempt of court for his failure to

  comply fully with the Order Granting Motion To Continue [#122] issued by this court;

         2. That if the Warden seeks to establish facts demonstrating the reasons for his non-

  compliance with the Order Granting Motion To Continue [#122], he shall file a sworn affidavit

  averring the facts on which he relies;

         3. That after review of the response by the Warden to this Order To Show Cause, the

  court will determine if a contempt hearing is necessary; and

         4. That this order shall be served on Richard Hudgins, Warden of FCI Englewood (9595

  West Quincy Avenue, Littleton, Colorado 80123).

         Dated February 8, 2019, at Denver, Colorado.

                                                              BY THE COURT:




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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

      Criminal Action No. 1:15-cr-00395-REB

      UNITED STATES OF AMERICA,

           Plaintiff,

      v.

      1. ALAN ALONZO WILLIAMS, Defendant.


            DEFENDANT’S            SIXTH MOTION        TO   CONTINUE          SENTENCING
            HEARING


                 Defendant, Alan Alonzo Williams, by and through counsel, requests that

      the sentencing in this matter, currently scheduled for March 27, 2019 at 1:30

      p.m. be continued.

            Counsel has conferred with AUSA Rebecca Weber as to this motion and

     Ms. Weber informed counsel she is not opposed to this motion.

                 In support of this Motion, Mr. Williams states as follows:

            1.          This matter has been continued a number of times with the hope

                        that Mr. Williams would receive his needed hernia re-repair surgery

                        prior to sentencing. There is no question but that the surgery is

                        medically required. Mr. Williams remains incapacitated and in pain

                        because of this.

            2.          On December 18, 2018, the Court entered an order directing the

                        warden of FCI Englewood to advise the Court in writing as to “when

                        the defendant shall receive the medical treatment, including any




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                 surgery, reasonably necessary to address the medical condition

                 and needs of the defendant.” (Doc. No. 122.) The warden did not

                 timely respond and the Court has issued a show cause order. (Doc.

                 No. 131) The warden has not timely responded to that order.

           3.    The Court issued the original order pursuant to its authority to

                 obtain information relevant to its duty to evaluate 18 U.S.C. §

                 3553(a) factors at sentencing. One such factor is “the Court must

                 consider in sentencing “the need for the sentence imposed ... to

                 provide the defendant with needed ... medical care[.]” This requires

                 an accurate assessment of what the Defendant’s current medical

                 condition is, what treatment he needs, and whether and where he

                 can receive such treatment while incarcerated.” U.S. v. Bencomo-

                 Chacon, 2007 WL 2021850 (not reported in F.Supp. 2d), p.2.

           4.    Without this information, the Court remains hamstrung in fulfilling its

                 duty to make a fair sentencing determination and the defendant

                 remains thwarted in make non-guideline arguments relating to the

                 defendant’s medical needs.

           5.    Mr. Williams requests the sentencing hearing date be vacated and

     reset after the Court resolves the pending order to show case and has received

     the requested information.

            Dated: February 28, 2019.

                 Respectfully submitted,

                                              s/ Steven K. Jacobson
                                              Steven K. Jacobson
                                              Collins, Rafik and Jacobson LLC


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                                               Boulder, Colorado 80302
                                               Telephone: 303-444-9292
                                               Fax: 303-447-0200
                                               e-mail: steve@collinsrafik.com


                           CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on February 28, 2019, I electronically filed the
     foregoing MOTION with the Clerk of the Court using the CM/ECF filing system
     which will send notification of such filing to all counsel of record in this case.

                                             s/ Steven K. Jacobson
                                             Steven K. Jacobson




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